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                                                                     IN CLH'    OFFICE
                            UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS 231(1                                FH 1^05
UNITED STATES OF AMERICA                            Crim. No. 18-300^:tMXSMR1CT COURT
                                                                       , , j ; .;:L-1 •...
                                                    VIOLATIONS
              V.

                                                    18U.S.C.§ 1344-
                                                    Bank Fraud
HANIBAL TAYEH,                                      (Count One)

                       Defendant.                   18 U.S.C.§ 1957-
                                                    Money Laundering
                                                    (Counts Two through Four)

                                                    IS U.S.C. § 982 -
                                                    Asset Forfeiture Allegations

                                         INDICTMENT


The Grand Jury charges:

                                   GENERAL ALLEGATIONS


       At all times pertinent to this Indictment:

       1.     Bank Rhode Island (hereinafter "Bank RI")> was a financial institution doing

business in the District of Massachusetts and elsewhere, whose deposits were insured by the

Federal Deposit Insurance Corporation.

       2.      Spectrum Analytical, Inc. ("Spectrum") was a Massachusetts corporation owned

and controlled by HANIBAL TAYEH.

       3.      Hanibal Technology, LLC ("Hanibal Technology") was a limited liability

company owned and controlled by HANIBAL TAYEH.
COUNT ONE;               Bank Fraud (18 U.S.C. § 1344)

       4.      The allegations contained in paragraphs 1 through 3 are realleged and

incorporated herein.

        5.     In or about March 2014,

                                         HANIBAL TAYEH,

defendant herein, in the District of Massachusetts and elsewhere, knowingly executed and

attempted to execute a scheme and artifice to defraud Bank RI and to obtain moneys and funds

owned by and under the custody and control of Bank RI, by means of materially false and

fraudulent pretenses and representations.

       It was part of the scheme that:

       6.      In or about March 2014, TAYEH sought a temporary increase of the revolving

line of credit previously extended by Bank RI to Spectrum and Hanibal Technology.

       7.      TAYEH falsely represented to Bank RI that Spectrum and Hanibal Technology

needed $900,000 as a retainer to purchase instrumentation essential to a project in Saudi Arabia.

TAYEH represented that the purchase of the instrumentation was one of two remaining

conditions for Hanibal Technology to receive a first payment of $8.9 million for work done on

the Saudi Arabian project. TAYEH falsely represented to Bank RI that he sought an increase to

the revolving line of credit in order to pay a retainer to purchase instrumentation for the Saudi

Arabian project.

       8.      TAYEH falsely represented that he would use $500,000 in personal funds to pay

the $900,000 retainer.

       9.      On or about March 31,2014, based on TAYEH's false representations. Bank RI

gave Spectrum and Hanibal Technology a 45-day increase of $400,000 to the revolving line of

                                                 2
credit. TAYEH then used $400,000 in Bank RI funds for purposes otlier than the purchase of

instrumentation for the Saudi Arabian project, including to pay promissory notes that were the

personal obligations of TAYEH.

       All in violation of Title 18, United States Code, Section 1344.
COUNTS TWO THROUGH FOUR:                   Money Laundering (18 U.S.C. §§ 1957 and 2)

         10.    The allegations contained in paragraphs 1 through 3 and 6 though 9 are realleged

and incorporated herein.

         11.    On or about each ofthe dates set forth below, in the District of Massachusetts and

elsewhere,

                                         HANIBAL TAYEH,

defendant herein, did knowingly engage in and attempt to engage in a monetary transaction in

criminally derived property of a value greater than $10,000, such property having been derived

from a specified unlawful activity, namely, Bank Fraud, in violation of Title 18, United States

Code, Section 1344, as follows:

 Count         Date                 Description
 2             March 31,2014        Check for $80,000 drawn from Bank of America account in
                                    the name of Hanibal Technology LLC payable to Individual
                                    #1
 3             March 31, 2014       Check for $100,000 drawn from Bank of America account in
                                    the name of Hanibal Technology LLC payable to Individual
                                    #2
 4             March 31, 2014       Check for $100,000 drawn from Bank of America account in
                                    the name of Hanibal Technology LLC payable to Individual
                                    #3


         All in violation of Title 18, United States Code, Sections 1957 and 2.
                         BANK FRAUD FORFEITURE ALLEGATION
                                     (18 U.S.C. § 982(a)(2)(A))

        The Grand Jury further finds that:

        1.        Upon conviction of the offense in violation of Title 18, United States Code,

Section 1344, set forth in Count One of this Indictment,

                                        HANIBAL TAYEH,

defendant herein, shall forfeit to the United States, pursuant to Title 18, United States Code,

Section 982(a)(2)(A), any property constituting, or derived from, proceeds obtained directly or

indirectly, as a result of such offense. The propertyto be forfeited includes, but is not limited

to, the following:

               a.       $400,000, to be entered in the form of a forfeiture money judgment;

        2.     If any of the property described in Paragraph 1, above, as being forfeitable

pursuant to Title 18, United States Code, Section 982(a)(2), as a result of any act or omission of

the defendant ~


               a.       cannot be located upon the exercise of due diligence;

               b.       has been transferred or sold to, or deposited with, a third party;

               c.       has been placed beyond the jurisdiction of the Court;

               d.       has been substantially diminished in value; or

               e.       has been commingled with other property which cannot be divided without
                        difficulty;

it is the intention of the United States, pursuant to Title 18, United States Code, Section 982(b),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

propertyof the defendant up to the value of the propertydescribed in Paragraph 1 above.

       All pursuant to Title 18, United States Code, Section 982(a)(2).

                                                   5
                    MONEY LAUNDERING FORFEITURE ALLEGATION
                                      (18 U.S.C. § 982(a)(1))

        The Grand Jury fiirther finds that:

        1.     Upon conviction of one or more of the offenses in violation of Title 18, United

States Code, Section 1957, set forth in Counts Two through Four of this Indictment,

                                       HANIBAL TAYEH,

defendant herein, shall forfeit to the United States, pursuant to Title 18, United States Code,

 Section 982(a)( 1), any property, real or personal, involved in such offenses, and any property

traceable to such property. The property to be forfeited includes, but is not limited to, the

 following:

               a.      $280,000, to be entered in the form of a forfeiture money judgment;

        2.     If any of the property described in Paragraph 1, above, as being forfeitable

pursuant to Title 18, United States Code, Section 982(a)(1), as a result of any act or omission of

the defendant —


               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with, a third party;

               c.      has been placed beyond the Jurisdiction of the Court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property which cannot be divided without
                       difficulty;

it is the intention of the United States, pursuant to Title 18, United States Code, Section 982(b),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendant up to the value of the property described in Paragraph 1 above.

       All pursuant to Title 18, United States Code, Section 982(a)(1).

                                                  6
                                                 A TRUE BILL




                                                 FOI^ER^ON OF THE GRAND JURY

ALEX J. GRANT
ASSISTANT U.S. ATTORNEY



     DISTRICT OF MASSACHUSETTS;


     Returned into the District Court by the Grand Jurors and filed on May 31, 2018.




                                          DEPUTY CLERK OF COURT
